          Case 4:14-cr-00191        Document 995         Filed 06/02/17      Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    NO.     4:14CR00191-09 JLH

ISAAC M. JAUREGUI                                                                     DEFENDANT

                                             ORDER

       Defendant Isaac M. Jauregui appeared in person with his attorney, Christian C. Alexander,

for a change of plea hearing on this date.   The government was represented by Assistant United

States Attorney Kristin Bryant.

       Following acceptance of the defendant=s guilty plea to Count 1s of the Superseding

Information, the Court granted defendant’s request to allow the defendant thirty (30) days to self

report to begin serving his term of imprisonment.      Jauregui must self surrender to the United

States Marshals Service in Little Rock, Arkansas, no later than 12:00 NOON on MONDAY,

JULY 3, 2017.     All conditions of bond previously imposed remain in full force and effect until

the self surrender date.

       Failure to report as directed will result in a warrant being issued for the defendant=s arrest.

       IT IS SO ORDERED this 2nd day of June, 2017.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
